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 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                   )   Case No.: 1:15CR00209 LJO-SKO
10   UNITED STATES OF AMERICA,                     )
                                                   )   STIPULATION AND ORDER RE:
11                  Plaintiff,                     )   PERMISSION FOR ROBIN LEE TO
                                                   )   ATTEND FAMILY EVENT;
12          v.                                     )   ORDER THEREON
                                                   )
13   ROBIN LEE,                                    )
                                                   )
14                  Defendant.                     )
15

16   TO THE HONORABLE COURT:

17          WHEREAS, Defendant Robin Lee is currently on pretrial release, as per this Court’s

18   Order dated May 5, 2016 (Dkt. No. 83); and

19          WHEREAS, as a condition of her pretrial release, the defendant is subject to Location
20   Monitoring with a curfew;
21
             WHEREAS, Defendant requests permission to attend a Mother’s Day family function in
22
     Los Angeles County from Saturday, May 13, 2017 until Sunday, May 14, 2017;
23
            WHEREAS, AUSA Brian K. Delaney and Pretrial Services Officer Frank Guerrero have
24
     no objection this request;
25




     STIPULATION AND PROPOSED ORDER RE: PERMISSION FOR ROBIN LEE TO ATTEND FAMILY
     EVENT; PROPOSED ORDER 1
           Case 1:15-cr-00209-LJO-SKO Document 156 Filed 05/11/17 Page 2 of 2

            IT IS HEREBY STIPULATED that the Defendant may attend the aforementioned family
 1
     function from Saturday, May 13, 2017 until Sunday, May 14, 2017 at 9:00 p.m.
 2

 3          IS SO STIPULATED.
 4                                                               Respectfully Submitted,
 5   DATED: May 11, 2017                                         /s/________________________
 6                                                               VIRNA L. SANTOS
                                                                 Attorney for Defendant
 7                                                               ROBIN LEE

 8

 9   DATED: May 11, 2017                                         /s/________________________
                                                                 BRIAN K. DELANEY
10                                                               Assistant U.S. Attorney
11

12
                                               ORDER
13

14          IT IS HEREBY STIPULATED that the Defendant may attend the aforementioned
15
     birthday party from Saturday, May 13, 2017 until Sunday, May 14, 2017 at 9:00 p.m.
16

17
     IT IS SO ORDERED.
18

19      Dated:    May 11, 2017                             /s/
                                                    UNITED STATES MAGISTRATE JUDGE
20

21

22

23

24

25




     STIPULATION AND PROPOSED ORDER RE: PERMISSION FOR ROBIN LEE TO ATTEND FAMILY
     EVENT; PROPOSED ORDER 2
